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                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF OREGON


THOMAS S.,1                                       6:19-cv-1808-BR

             Plaintiff,                           OPINION AND ORDER

v.

COMMISSIONER, SOCIAL
SECURITY ADMINISTRATION,

             Defendant.

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     1
       In the interest of privacy this Court uses only the first
name and the initial of the last name of the nongovernmental
party in this case.

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BROWN, Senior Judge.

     Plaintiff Thomas S. seeks judicial review of a final

decision of the Commissioner of the Social Security

Administration (SSA) in which he denied Plaintiff's application

for Disability Insurance Benefits (DIB) under Title II of the

Social Security Act.       This Court has jurisdiction to review the

Commissioner's final decision pursuant to 42 U.S.C. § 405(g).

     For the reasons that follow, the Court REVERSES the decision

of the Commissioner and REMANDS this matter pursuant to sentence

four of 42 U.S.C. § 405(g) for the immediate calculation and

award of benefits.



                           ADMINISTRATIVE HISTORY

     Plaintiff filed an application for DIB on August 11, 2016,

alleging a disability onset date of August 2, 2016.                 Tr. 138-39.1

The application was denied initially and on reconsideration.                   An


     1
       Citations to the official transcript of record filed by
the Commissioner on March 18, 2020, are referred to as "Tr."

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Administrative Law Judge (ALJ) held a hearing on October 15,

2018.    Tr. 27-47.    Plaintiff was represented at the hearing.

Plaintiff and a vocational expert (VE) testified.

        The ALJ issued a decision on November 27, 2018, in which she

found Plaintiff was not disabled, and, therefore, Plaintiff is

not entitled to benefits.        Tr. 15-22.      Pursuant to 20 C.F.R.

§ 404.984(d), that decision became the final decision of the

Commissioner on September 25, 2019, when the Appeals Council

denied Plaintiff's request for review.            Tr. 1-6.      See Sims v.

Apfel, 530 U.S. 103, 106-07 (2000).



                                  BACKGROUND

        Plaintiff was born on June 6, 1960, and was 58 years old at

the time of the hearing.        Tr. 138.      Plaintiff completed high

school and one year of college.         Tr. 32.      Plaintiff has past

relevant work experience as a police officer; detective; and

“sales rep[resentative], boats and marine supplies.”                 Tr. 40.

        Plaintiff alleges disability due to “post C4-6 cervical

fusion and discectomy,” “post bilateral rotator cuff repair,”

“arthritis C7 with numbness in hands,” depression, and “chronic

headaches.”     Tr. 163.

        Except when noted Plaintiff does not challenge the ALJ’s

summary of the medical evidence.           After carefully reviewing the

medical records, this Court adopts the ALJ’s summary of the


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medical evidence.     See Tr. 20-21.



                                STANDARDS

     The initial burden of proof rests on the claimant to

establish disability.     Molina v. Astrue, 674 F.3d 1104, 1110 (9th

Cir. 2012).   To meet this burden a claimant must demonstrate his

inability "to engage in any substantial gainful activity by

reason of any medically determinable physical or mental

impairment which . . . has lasted or can be expected to last for

a continuous period of not less than 12 months."              42 U.S.C.

§ 423(d)(1)(A).     The ALJ must develop the record when there is

ambiguous evidence or when the record is inadequate to allow for

proper evaluation of the evidence.          McLeod v. Astrue, 640 F.3d

881, 885 (9th Cir. 2011)(quoting Mayes v. Massanari, 276 F.3d

453, 459–60 (9th Cir. 2001)).

     The district court must affirm the Commissioner's decision

if it is based on proper legal standards and the findings are

supported by substantial evidence in the record as a whole.                  42

U.S.C. § 405(g).     See also Brewes v. Comm’r of Soc. Sec. Admin.,

682 F.3d 1157, 1161 (9th Cir. 2012).         Substantial evidence is

“relevant evidence that a reasonable mind might accept as

adequate to support a conclusion.”          Molina, 674 F.3d. at 1110-11

(quoting Valentine v. Comm’r Soc. Sec. Admin., 574 F.3d 685, 690

(9th Cir. 2009)).    "It is more than a mere scintilla [of


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evidence] but less than a preponderance."         Id. (citing Valentine,

574 F.3d at 690).

     The ALJ is responsible for determining credibility,

resolving conflicts in the medical evidence, and resolving

ambiguities.    Vasquez v. Astrue, 572 F.3d 586, 591 (9th Cir.

2009).    The court must weigh all of the evidence whether it

supports or detracts from the Commissioner's decision.             Ryan v.

Comm’r of Soc. Sec., 528 F.3d 1194, 1198 (9th Cir. 2008).             Even

when the evidence is susceptible to more than one rational

interpretation, the court must uphold the Commissioner’s findings

if they are supported by inferences reasonably drawn from the

record.    Ludwig v. Astrue, 681 F.3d 1047, 1051 (9th Cir. 2012).

The court may not substitute its judgment for that of the

Commissioner.    Widmark v. Barnhart, 454 F.3d 1063, 1070 (9th Cir.

2006).



                          DISABILITY ANALYSIS

I.   The Regulatory Sequential Evaluation

     The Commissioner has developed a five-step sequential

inquiry to determine whether a claimant is disabled within the

meaning of the Act.     Parra v. Astrue, 481 F.3d 742, 746 (9th Cir.

2007).    See also 20 C.F.R. § 404.1520.      Each step is potentially

dispositive.

     At Step One the claimant is not disabled if the Commissioner

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determines the claimant is engaged in substantial gainful

activity.   20 C.F.R. § 404.1520(a)(4)(I).         See also Keyser v.

Comm’r of Soc. Sec., 648 F.3d 721, 724 (9th Cir. 2011).

     At Step Two the claimant is not disabled if the Commissioner

determines the claimant does not have any medically severe

impairment or combination of impairments.          20 C.F.R. §§ 404.1509,

404.1520(a)(4)(ii).     See also Keyser, 648 F.3d at 724.

     At Step Three the claimant is disabled if the Commissioner

determines the claimant’s impairments meet or equal one of the

listed impairments that the Commissioner acknowledges are so

severe as to preclude substantial gainful activity.              20 C.F.R.

§ 404.1520(a)(4)(iii).       See also Keyser, 648 F.3d at 724.          The

criteria for the listed impairments, known as Listings, are

enumerated in 20 C.F.R. part 404, subpart P, appendix 1 (Listed

Impairments).

     If the Commissioner proceeds beyond Step Three, he must

assess the claimant’s residual functional capacity (RFC).               The

claimant’s RFC is an assessment of the sustained, work-related

physical and mental activities the claimant can still do on a

regular and continuing basis despite his limitations.              20 C.F.R.

§ 404.1520(e).   See also Social Security Ruling (SSR) 96-8p.                 “A

'regular and continuing basis' means 8 hours a day, for 5 days a

week, or an equivalent schedule."       SSR 96-8p, at *1.         In other

words, the Social Security Act does not require complete


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incapacity to be disabled.     Taylor v. Comm’r of Soc. Sec. Admin.,

659 F.3d 1228, 1234-35 (9th Cir. 2011)(citing Fair v. Bowen, 885

F.2d 597, 603 (9th Cir. 1989)).

     At Step Four the claimant is not disabled if the

Commissioner determines the claimant retains the RFC to perform

work he has done in the past.      20 C.F.R. § 404.1520(a)(4)(iv).

See also Keyser, 648 F.3d at 724.

     If the Commissioner reaches Step Five, he must determine

whether the claimant is able to do any other work that exists in

the national economy.    20 C.F.R. § 404.1520(a)(4)(v).           See also

Keyser, 648 F.3d at 724-25.     Here the burden shifts to the

Commissioner to show a significant number of jobs exist in the

national economy that the claimant can perform.             Lockwood v.

Comm’r Soc. Sec. Admin., 616 F.3d 1068, 1071 (9th Cir. 2010).

The Commissioner may satisfy this burden through the testimony of

a VE or by reference to the Medical-Vocational Guidelines set

forth in the regulations at 20 C.F.R. part 404, subpart P,

appendix 2.   If the Commissioner meets this burden, the claimant

is not disabled.   20 C.F.R. § 404.1520(g)(1).



                             ALJ'S FINDINGS

     At Step One the ALJ found Plaintiff did not engage in

substantial gainful activity after his August 2, 2016, alleged

onset date.   Tr. 17.


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      At Step Two the ALJ found Plaintiff has the severe

impairments of degenerative disc disease of the cervical and

lumbar spine, bilateral median neuropathy, “bilateral carpal

tunnel syndrome (status post release surgery of right),”

“collapse fracture at Ll of lumbar spine,” and recurrent left-

shoulder rotator-cuff tear.      Tr. 17-18.

      At Step Three the ALJ concluded Plaintiff's medically

determinable impairments do not meet or medically equal one of

the listed impairments in 20 C.F.R. part 404, subpart P, appendix

1.   Tr. 18.   The ALJ found Plaintiff has the RFC to perform light

work with the following limitations:

             [Plaintiff] is limited to no more than occasional
             climbing of ramps or stairs and no climbing of
             ladders, ropes, or scaffolds. [Plaintiff] is
             limited to occasional stooping, kneeling,
             crouching, and crawling. He is limited to
             occasional bilateral overhead reach and frequent
             bilateral reach in other directions. [Plaintiff]
             is limited to frequent bilateral handling and
             fingering. [Plaintiff] must avoid concentrated
             exposure to workplace hazards such as unprotected
             heights and moving machinery.

Tr. 18.

      At Step Four the ALJ found Plaintiff can perform his past

relevant work as “a sales representative, boats and marine

supplies.”     Tr. 22.   Accordingly, the ALJ concluded Plaintiff is

not disabled.




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                                   DISCUSSION

     Plaintiff contends the ALJ erred when she (1) improperly

classified Plaintiff’s past relevant work at Step Four;

(2) partially rejected Plaintiff’s testimony; (3) partially

rejected the lay-witness statement of Plaintiff’s wife, Stephanie

S.; (4) partially rejected the opinion of Yaw Sarpong, M.D.,

treating physician; and (5) posed an incomplete hypothetical to

the VE.2

I.   The ALJ erred at Step Four when she classified Plaintiff’s
     past relevant work as sales representative, boat and marine
     supplies.

     Plaintiff alleges the ALJ erred at Step Four when she

classified Plaintiff’s past relevant work as “sales

representative, boats and marine supplies.”

     At Step Four the claimant is not disabled if the

Commissioner determines the claimant retains the RFC to perform

work he has done in the past.          20 C.F.R. § 404.1520(a)(4)(iv).

See also Keyser, 648 F.3d at 724.

     At the hearing the ALJ asked the VE to “summarize

[Plaintiff’s] vocational background.”            Tr. 39.        The VE testified

Plaintiff’s past relevant work included police officer,

detective, and “sales rep, boats and marine supplies.”                  Tr. 40.

     2
       Because the Court concludes the ALJ erred at Step Four
when she improperly classified Plaintiff’s past relevant work as
sales representative, boat and marine supplies, and, as a result,
this case is remanded for the immediate award of benefits and the
Court does not address Plaintiff’s other allegations of error.

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The VE stated he “believe[d] the best DOT for [the job of sales

representative, boats and marine supplies] is 273.357-018 . . .

skilled, SVP 5, light per DOT, performed both heavy and medium.”

Tr. 40.    In her decision the ALJ relied on the VE’s testimony and

concluded Plaintiff could perform his past relevant work that the

ALJ classified as “sales representative, boats and marine

supplies] DOT # 273.356-018, SVP 5, light (performed at medium

and heavy per the [VE’s] testimony).”        Tr. 22.

     Plaintiff asserts the ALJ erred at Step Four when she

classified Plaintiff’s past relevant work as sales

representative, boats and marine supplies because that job

encompasses only half of Plaintiff’s work duties and “does not

capture the half of his duties involving warehouse work,” which

was much more physically demanding.        Pl.’s Brief at 10.

Plaintiff contends his work with boat and marine supplies was, in

fact, a composite3 of the jobs of sales representative, boats and

marine supplies and warehouse worker.

     The Dictionary of Occupational Titles (DOT) describes the

job of sales representative, boats and marine supplies as

follows:

            Sells boats and marine equipment and supplies,
            such as fixtures, pumps, instruments, cordage,


     3
       A composite job is one that “has significant elements of
two or more occupations and therefore has no counterpart in the
DOT.” Albritten v. Berryhill, No. CV 17-0925-JPR, 2018 WL
3032860, at *4 (C.D. Cal. June 14, 2018).

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          paints, and motor parts: Shows boat on sales
          floor or shows catalog pictures and blueprints.
          Explains construction and performance of boat and
          differences between various types of marine
          equipment. Advises boat owners on selection of
          new equipment and problems pertaining to repairs.
          Performs other duties as described under SALES
          REPRESENTATIVE (retail trade; wholesale tr.)
          Master Title. May demonstrate boat in water. May
          arrange for delivery, registration, and inspection
          of boat. May sell water-sports equipment, such as
          water skis and scuba gear. May sell marine
          equipment and supplies, except boats, and be
          designated Sales Representative, Marine Supplies
          (retail trade; wholesale tr.).

DOT # 273.357-018.    The VE testified sales representative, boats

and marine supplies is a light-level job as generally performed

and medium-to-heavy level as actually performed.            The DOT

describes the job of warehouse worker as a medium-exertional

level job that includes the following:

          Performs any combination of following tasks to
          receive, store, and distribute material, tools,
          equipment, and products within establishments:
          Reads production schedule, customer order, work
          order, shipping order, or requisition to determine
          items to be moved, gathered, or distributed.
          Conveys materials and items from receiving or
          production areas to storage or to other designated
          areas by hand, hand truck, or electric hand truck.
          Sorts and places materials or items on racks,
          shelves, or in bins according to predetermined
          sequence, such as size, type, style, color, or
          product code. Sorts and stores perishable goods
          in refrigerated rooms. Fills requisitions, work
          orders, or requests for materials, tools, or other
          stock items and distributes items to production
          workers or assembly line. Assembles customer
          orders from stock and places orders on pallets or
          shelves, or conveys orders to packing station or
          shipping department. Marks materials with
          identifying information, using stencil, crayon, or
          other marking device. Opens bales, crates, and

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          other containers, using hand tools. Records
          amounts of materials or items received or
          distributed. Weighs or counts items for
          distribution within plant to ensure conformance to


          company standards. Arranges stock parts in
          specified sequence for assembly by other workers.

DOT # 922.687-058.

     According to Plaintiff, when the ALJ found at Step Four that

Plaintiff’s past relevant work was that of a sales

representative, the ALJ effectively found Plaintiff could perform

only the “least demanding aspect of his past job,” which is

impermissible when evaluating a composite job.

     “At step four, a claimant has the burden to prove that he

cannot perform his past relevant work ‘either as actually

performed or as generally performed in the national economy.’”

Stacy v. Colvin, 825 F.3d 563, 569 (9th Cir. 2016)(quoting Lewis

v. Barnhart, 281 F.3d 1081, 1083 (9th Cir. 2002)).            When

evaluating a claimant’s ability to perform past relevant work,

“ALJs may use either the ‘actually performed test’ or the

‘generally performed test.’”      Stacy, 825 F.3d at 569 (quoting SSR

82-61, 1982 WL 31387 (1982)).

     When “defining a claimant’s past relevant work as actually

performed, the ALJ may use ‘a properly completed vocational

report’ and ‘the claimant’s own testimony.’”           Albritten v.

Berryhill, No. CV 17-0925-JPR, 2018 WL 3032860, at *3 (C.D. Cal.

June 14, 2018)(quoting Pinto v. Massanari, 249 F.3d 840, 845 (9th

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Cir. 2001)).   “To ascertain the requirements of occupations as

generally performed in the national economy, the ALJ may rely on

VE testimony or information from the DOT.”          Albritten, 2018 WL

3032860, at *3 (citations omitted).

     SSR 82-61 explains the “generally performed test” as

follows:

           A former job performed by the claimant may have
           involved functional demands and job duties
           significantly in excess of those generally
           required for the job by other employers throughout
           the national economy. Under this test, if the
           claimant cannot perform the excessive functional
           demands and/or job duties actually required in the
           former job but can perform the functional demands
           and job duties as generally required by employers
           throughout the economy, the claimant should be
           found to be “not disabled.”

“Thus, the ‘generally performed test’ is designed for situations

[in which] a claimant’s past job was especially demanding when

compared with industry standards.”         Stacy, 825 F.3d at 569

(citing Jack v. Colvin, No. CV 14–08464 RAO, 2015 WL 5567748

(C.D. Cal. Sept. 22, 2015)(past work was properly categorized as

“athletic director” at a sedentary level of exertion even though

the claimant actually performed the job at a heavy level of

exertion)).

     “Regardless [whether the ALJ applies the ‘generally

performed test’ or the ‘actually performed test’] at step 4, the

ALJ may not classify a past occupation ‘according to the least

demanding function.’”    Stacy, 825 F.3d at 569 (quoting Carmickle


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v. Comm'r, SSA, 533 F.3d 1155, 1166 (9th Cir. 2008), and Valencia

v. Heckler, 751 F.2d 1082, 1086 (9th Cir. 1985)).            For example,

in Carmickle the plaintiff’s past relevant work was as a

construction supervisor, but “only 20 percent of [his] duties

. . . involved supervision; the remainder of his time was spent

performing manual labor.”      Stacy, 825 F.3d at 569 (citing

Carmickle, 533 F.3d at 1166).      The Ninth Circuit held the ALJ

erred when he “categoriz[ed] the [plaintiff’s] job as ‘a purely

supervisory position.’”      Id. (quoting Carmickle, 533 F.3d at

1166).   Similarly, in Valencia the Ninth Circuit concluded the

ALJ erred when he classified the plaintiff’s past work as a

“tomato sorter,” which “involv[ed] only light exertion because

the [plaintiff] was actually an ‘agricultural laborer’ who mostly

performed other, medium exertion tasks.”         Stacy, 825 F.3d at 569-

70 (quoting Valencia, 751 F.2d at 1086).         In Vertigan v. Halter,

260 F.3d 1044, 1051 (9th Cir. 2001), the Ninth Circuit concluded

the ALJ erred when he categorized the plaintiff’s “past work as a

cashier when she was actually a pharmacy clerk and cashier work

was only ‘a small part of her job.’”        Stacy 825 F.3d at 570.

     The Ninth Circuit noted in Stacy that “[r]econciling the

‘generally performed’ test with the Valencia line of cases is

difficult but not impossible.”      825 F.3d at 570.        Ultimately the

Ninth Circuit concluded in Stacy that “Valencia and its progeny

do not apply in cases . . . [when] (1) the ‘least demanding


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function’ is a task that the claimant actually performed most of

the time; and (2) the DOT defines the claimant’s past job as

requiring only that least demanding function.”              Id.   “Thus, an

ALJ errs at step four by (1) classifying a past composite job

according to its least demanding function [when] that function

was performed less than half of the time, and (2) determining

that a claimant is able to perform past relevant work because

[he] is capable of that isolated function.”          Murray v. Comm'r of

Soc. Sec. Admin., No. CV-17-01802-PHX-DGC, 2018 WL 2002227, at *2

(D. Ariz. Apr. 30, 2018)(citations omitted).

     Plaintiff noted in his Work History Report that he

frequently lifted 50 pounds or more in his job as a sales

representative; walked five hours; stood two hours; wrote, typed,

or handled small objects [for] two hours; and spent 30 minutes

climbing, reaching, kneeling, crouching, crawling, and handling

large objects.   Tr. 189.    Plaintiff stated he also assisted

customers with purchases, ran the cash register, stocked shelves,

assisted with the check-in of freight items, swept and mopped

floors, emptied trash, and cleaned bathrooms.           At the hearing

Plaintiff testified he helped customers on the sales floor in his

sales representative job, stocked shelves, and “moved freight

. . . for shipping.”    Tr. 37.    Plaintiff stated his job involved

heavy lifting as well as a great deal of running up and down the

stairs:


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             They have a mezzanine warehouse there with no
             elevator. And, you're required to go up and down
             the stairs without items constantly, all day long,
             and then still stock shelves. And, you're lifting
             freight items, helping bring stuff into the store
             to put on the shelves. . . . [Y]ou're up
             constantly on the go. . . . There's very, very
             few breaks during the day and you're just in
             constant motion. You're helping customers on the
             sales floor or stocking shelves or moving freight
             either up stairs or back down stairs for stocking
             items for shipping.

Tr. 36-37.    Plaintiff testified he worked in the warehouse

“approximately 50 percent of the time.”         As to Plaintiff’s sales

representative job, the VE testified:        “I believe the best DOT

for that is 273.357-018, . . . skilled, SVP 5, light per DOT,

performed both heavy and medium.”      Tr. 40.      As noted, the ALJ

concluded Plaintiff could do his past relevant work of sales

representative as that job is generally performed in the national

economy.

     The Court finds the reasoning in Valencia and its progeny

together with the Ninth Circuit’s reasoning in Stacy apply here

because the record does not reflect “the least demanding

function” of Plaintiff’s past relevant work (i.e., sales

representative) was a task that Plaintiff “actually performed

most of the time.”    Here the ALJ concluded Plaintiff could

perform his past relevant work based on the least demanding task,

but the record reflects Plaintiff performed the least demanding

task no more than 50 percent of the time.          The Court, therefore,

concludes the ALJ erred at Step Four when she classified

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Plaintiff’s past relevant work as sales representative, boat and

marine supplies as that job is generally performed in the

economy.

      The Court also concludes the ALJ’s error was not harmless.

The ALJ found Plaintiff could perform a reduced level of light

work, but the VE testified the job of sales representative, boat

and marine supplies as Plaintiff performed it was medium

and/or heavy work.     Plaintiff, therefore, could not perform his

past relevant work as sales representative, boat and marine

supplies.   The ALJ also found Plaintiff could not perform his

other past work as a police officer.         In addition, the ALJ

did not make any findings at Step Five and, therefore, did not

identify any other work that Plaintiff could do nor find

Plaintiff had any transferable skills.          See, e.g., Tommasetti,

533 F.3d at 1042 (“Although the ALJ’s step four determination

constitutes error, it is harmless error in light of the ALJ’s

alternative finding at step five.”); Lamb v. Colvin, No. 1:13–cv–

00137 GSA, 2014 WL 3894919, at *6 (E.D. Cal. Aug. 4, 2014)(“[H]ad

the ALJ proceeded to step five of the sequential disability

analysis, the Court possibly could have found the step-four error

to be harmless.”).

II.   Remand

      The decision whether to remand for further proceedings or

for immediate payment of benefits generally turns on the likely


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utility of further proceedings.       Harman v. Apfel, 211 F.3d 1172,

1179 (9th Cir. 2000).    When "the record has been fully developed

and further administrative proceedings would serve no useful

purpose, the district court should remand for an immediate award

of benefits."    Benecke v. Barnhart, 379 F.3d 587, 593 (9th Cir.

2004).   The decision whether to remand this case for further

proceedings or for the payment of benefits is a decision within

the discretion of the court.       Harman, 211 F.3d 1178.

      The decision whether to remand for further proceedings or

for immediate payment of benefits generally turns on the likely

utility of further proceedings.       Id. at 1179.       The court may

"direct an award of benefits where the record has been fully

developed and where further administrative proceedings would

serve no useful purpose."       Smolen, 80 F.3d at 1292.

      The Ninth Circuit has established a three-part test "for

determining when evidence should be credited and an immediate

award of benefits directed."       Harman, 211 F.3d at 1178.          The

Court should grant an immediate award of benefits when:

           (1) the ALJ has failed to provide legally
           sufficient reasons for rejecting . . .
           evidence, (2) there are no outstanding issues
           that must be resolved before a determination
           of disability can be made, and (3) it is
           clear from the record that the ALJ would be
           required to find the claimant disabled were
           such evidence credited.

Id.   The second and third prongs of the test often merge into a

single question:    Whether the ALJ would have to award benefits if

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the case were remanded for further proceedings.             Id. at 1178 n.2.

     The Court has already concluded the ALJ erred when she found

Plaintiff could perform his past relevant work as sales

representative, boat and marine supplies as that job is generally

performed in the economy.      The ALJ did not proceed to Step Five

and, therefore, did not identify any other work that Plaintiff

could do nor find Plaintiff had any transferable skills.              The

record reflects Plaintiff was 56 years old on his alleged onset

date, and, therefore, he was a person of “advanced age.”              20

C.F.R. §§ 404.1563(e), 416.963(e).         As noted, Plaintiff has a

high-school education, and the ALJ found Plaintiff could only

perform a reduced range of light work.         Under similar

circumstances the Ninth Circuit and district courts in the Ninth

Circuit have held plaintiffs are disabled based on 20 C.F.R.

§ 404, Subpart P, Appendix 2, Rule 202.06.          See, e.g., Bray v.

Comm'r of Soc. Sec. Admin., 554 F.3d 1219, 1229 (9th Cir. 2009)

(“The issue of transferability of skills is dispositive, as Bray

is now 58 years old, and thus should be considered in the

‘advanced age’ category.     According to the grids, a 58–year–old

with Bray's limitations who lacks transferable skills qualifies

as disabled.”); Barnes v. Berryhill, 895 F.3d 702, 706–07 (9th

Cir. 2018)(The court contrasted the facts in Barnes with those in

Bray in which the claimant “was a few weeks shy of 55 at the time

of her ALJ hearing, had a high school education, and had past


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relevant work that was skilled or semiskilled.              Her RFC limited

her to light work with additional restrictions.             Grid rule 202.06

states that a person of ‘advanced age’ who has a high school

education and skilled or semi-skilled work experience but no

transferable skills is disabled.”      The Barnes court concluded

“the court properly found in Bray that the plaintiff was

disabled.”); Kevin M. v. Comm'r of Soc. Sec., No. C19-993-MLP,

2020 WL 747850, at *3 (W.D. Wash. Feb. 14, 2020)(the court

remanded for an immediate award of benefits on the ground that

the “grid under medical vocational rule 202.06 . . . appl[ied]”

and the plaintiff was disabled because he “could not do past

relevant work, he has no transferable skills from the collections

clerk job,” and he was of advanced age).         Based on these cases,

the Court concludes Plaintiff is disabled and that this matter,

therefore, should not be remanded for further proceedings.                   See

Schneider v. Comm’r, 223 F.3d 968 (9th Cir. 2000).             See also

Reddick, 157 F.3d at 729 ("We do not remand this case for further

proceedings because it is clear from the administrative record

that Claimant is entitled to benefits."); Rodriguez v. Bowen, 876

F.2d 759, 763 (9th Cir. 1989)(judgment for the claimant is

appropriate when remand for further proceedings would only delay

the receipt of benefits).

     Accordingly, the Court remands this matter for the immediate

calculation and award of benefits to Plaintiff.


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                               CONCLUSION

     For these reasons, the Court REVERSES the decision of the

Commissioner and REMANDS this matter pursuant to sentence four of

42 U.S.C. § 405(g) for the immediate calculation and award of

benefits.

     IT IS SO ORDERED.

     DATED this 2nd day of October, 2020.



                                       /s/ Anna J. Brown


                                  ANNA J. BROWN
                                  United States Senior District Judge




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